DOCUMENTS UNDER SEAL
                       Case 3:19-cr-00621-EMC Document 17 Filed 11/20/19 Page 14of
                                                            TOTAL TIME (m ins):
                                                                                   1
                                                                                 minutes
M AGISTRATE JUDGE                           DEPUTY CLERK                               REPORTER/FTR
M INUTE ORDER                               Melinda K. Lock                            FTR 11:15-11:19
MAGISTRATE JUDGE                            DATE                                       NEW CASE          CASE NUMBER
SALLIE KIM                                  November 20, 2019                                            3:19-cr-00621-EMC-1
                                                       APPEARANCES
DEFENDANT                                    AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                       PD.     RET.
Ahmad Abouammo                                       Y         P       Jodi Linker                             APPT.
U.S. ATTORNEY                                INTERPRETER                              FIN. AFFT              COUNSEL APPT'D
Colin Sampson/Benjamin Kingsley                                                       SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                 DEF ELIGIBLE FOR             PARTIAL PAYMENT
                             Jalei Kinder                              APPT'D COUNSEL               OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
        INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                              STATUS
       held - 2 mins                                                                                             TRIAL SET
        I.D. COUNSEL               ARRAIGNMENT             BOND HEARING                IA REV PROB. or           OTHER
       held - 1 min             held - 1 min                                           or S/R
        DETENTION HRG              ID / REMOV HRG          CHANGE PLEA                 PROB. REVOC.              ATTY APPT
                                                                                                                 HEARING
                                                      INITIAL APPEARANCE
         ADVISED                 ADVISED                  NAME AS CHARGED                TRUE NAME:
         OF RIGHTS               OF CHARGES               IS TRUE NAME
                                                         ARRAIGNM ENT
        ARRAIGNED ON                ARRAIGNED ON               READING W AIVED              W AIVER OF INDICTMENT FILED
        INFORMATION                 INDICTMENT                 SUBSTANCE
                                                          RELEASE
       RELEASED           ISSUED                      AMT OF SECURITY         SPECIAL NOTES                  PASSPORT
       ON O/R             APPEARANCE BOND             $                                                      SURRENDERED
                                                                                                             DATE:
 PROPERTY TO BE POSTED                           CORPORATE SECURITY                        REAL PROPERTY:
     CASH    $


       MOTION           PRETRIAL                DETAINED           RELEASED          DETENTION HEARING            REMANDED
       FOR              SERVICES                                                     AND FORMAL FINDINGS          TO CUSTODY
       DETENTION        REPORT                                                       W AIVED
 ORDER REMOVED TO THE DISTRICT OF
                                                               PLEA
    CONSENT                      NOT GUILTY                   GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                  CHANGE OF PLEA               PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                            FILED
                                                         CONTINUANCE
 TO:                               ATTY APPT                BOND                      STATUS RE:
11/20/2019 (prev. set)             HEARING                  HEARING                   CONSENT                  TRIAL SET

 AT:                               SUBMIT FINAN.              PRELIMINARY             CHANGE OF                67$786
                                   AFFIDAVIT                  HEARING                 PLEA
2:30 PM                                                       BBBBBBBBBBBBB
BEFORE HON.                        DETENTION                  $55$,*1MENT              MOTIONS                 JUDGMENT &
                                   HEARING                                                                     SENTENCING
Edward M. Chen
         TIME W AIVED              TIME EXCLUDABLE            IDENTITY /              PRETRIAL                 PROB/SUP REV.
                                   UNDER 18 § USC             REMOVAL                 CONFERENCE               HEARING
                                   3161                       HEARING
                                                   ADDITIONAL PROCEEDINGS
The Court may ask the defendant to contribute to his defense at a later time. Defendant's assertion of rights filed. The Court
has reviewed the papers relating to the detention proceedings before Judge Alsup and will not override his decision to release
the defendant under the conditions imposed by the Magistrate Judge in Oregon. The Government may take this matter up
with Judge Chen.                                                                         DOCUMENT NUMBER:
